                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
         Plaintiff,                           )
                                              )
 v.                                           )   NO. 3:25-cr-00115
                                              )
 KILMAR ARMANDO ABREGO                        )
 GARCIA,                                      )
                                              )
         Defendant.                           )


                                         ORDER

        The Government shall reply to Kilmar Armando Abrego Garcia’s Response in Opposition

to the Motion for Appeal and Revocation Release Order (Doc. No. 49) by 4:00 p.m., June 24,

2025.

        IT IS SO ORDERED.


                                          _____________________________________
                                          WAVERLY D. CRENSHAW, JR
                                          UNITED STATES DISTRICT JUDGE




                                             1

  Case 3:25-cr-00115      Document 51      Filed 06/23/25    Page 1 of 1 PageID #: 456
